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                                     UNITED STATES DISTRICT COURT

                                  NORTHERN DISTRICT OF CALIFORNIA

                                              SAN JOSE DIVISION


 DISPLAY TECHNOLOGIES, LLC,                )                  Case No. 5:24-cv-00703-NC
                                           )
    Plaintiff,                             )                  NOTICE OF ATTORNEY APPEARANCE
                                           )                  OF MATTHEW S. WARREN
 v.                                        )
                                           )
 DISCORD INC.,                             )
                                           )
    Defendant.                             )
 _________________________________________ )


          Defendant Discord Inc. hereby notifies the Court and the parties to this action that Matthew S.

 Warren of Warren Kash Warren LLP, an attorney admitted to practice before this Court, appears as

 counsel for defendant Discord Inc. in this matter. Please serve all pleadings, correspondence, and other

 materials on Mr. Warren at the above address.

 Date: February 29, 2024                               Respectfully submitted,

                                                       _______________________________________
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_____________________________________________________________________________________________________________
  ___________________________________________________________________________________________________________________
                                              NOTICE OF ATTORNEY APPEARANCE OF MATTHEW S. WARREN
